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Pro Se 7 (Rev. 12/16) Complaint for Employment Discriminat1.on


                                                           I                                                                    United States Courts
                                       UNITED TATES DISTRICT COURT SouthemDistrlctofTexas
                                                                          for the                                                     FILED

                                                            Southern District of Texas                                            DEC 2 0 2024
                                                                   . Houston Division
                                                                                                                          Nathan Ochsner, Clerk of Court

                           Bryce Brown                                                 Case No.
                                                                              )
                                                                              )                              (to be filled in by the Clerk's Office)
                                                                              )
                             Plaintijf(s)
(Write the full name ofeach plaintiffwho is filing this c ,mplaint.
                                                                              )
Ifthe names ofall the plaintilfe cannotfit in the ~pace afove,                )        Jury T1ial: (check one)           IZ)Yes 0No
please write "see attached" in the space and attach an additional             )
page with the full list ofnames.)
                                                                              )
                                 -v-
                                                                              )
                                                                              )
             G&A OUTSOURCING Ill LLC DBA                                      )
                  ONPOINT LAB, ET AL
                  CHANDRESH PATEL                                             )
                                                                              )
                  -----··--------
                             Defendant(s)                                     )
(Write the full name ofeach defendant who is being sue , I/the                )
names ofall the defendants cannot fit in the space abQveJ please              )
                                                               1
write "see altached" in the space and attach an addition[ I page
with the full list ofnames.)



                              COMPLAINT FO EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.        The Plaintiff(s)

                    Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name
                               Street Address                         935 N. Wilcrest Dr. Apt. 1018
                               City and County                        Houston Harris County
                               State and Zip Code                     Texas 77079
                               TcJephone Number                       281 763-8151
                                                                     ····-------·····-·-··--- ____ ., ___ ., ____   --------------
                               E-mail Address                         Brycebrown19@gmail.com


          B.        TllC Defe11dant(s)

                    Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title !(ifknown). Attach additional pages if needed.

                                                                                                                                                       Page 1 of 6
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Pro Se 7 Rev. 12/16) Com taint for Em lo mentDiscriminatjon


                    Defendant No. I
                              Name                            Chandresh Patel
                              Job or Title (ifknown)          Owner and Share Holder
                              Street Address                  145 Promenade Way Suite 2

                              City and County                 Sugarland Fort Bend County
                              State and Zip Code              Texas 77479
                              Telephone Number                (832) 939-8480

                              E-mail Address (ifkn wn)


                    Defendant No. 2
                              Name                            G&A OUTSOURCING Ill LLC OBA ONPOINT LAB
                              Job or Title (if known)         Company
                              Street Address                  145 Pomenade Way Suite 2
                                                              - - - - - - - ·--·-----------------
                              City and County                 Sugarland Fort Bend County
                              State and Zip Code              Texas 77479
                              Telephone Number                (832) 939-8480

                              E-mail Address (ifkno n)


                    Defendant No. 3
                              Name
                              Job or Title (ifknown)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (ifkno 1111)


                    Defendant No. 4
                              Name
                              Job or Title (ifknow11)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (ifkno 11)



                                                                                                           Page2of 6
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Pro Se 7 (Rev. 12/16) Comolaint for Emoloyment Discrimination


          C.         Place of Employment

                     The address at which I sought employment or was employed by the defendant(s) is

                               Name                                  G&A OUTSOURCING Ill LLC OBA ONPOINT LAB
                               Street Address                        145 Promenade Way Suite 2
                               City and County                       Sugarland Fort Bend County
                               State and Zip Code                    Texas 77479
                               Telephone Number                      (832) 939-8480


II.       Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant to (check all that apply):

                 IZJ                                       I
                                 Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,
                                                   •• I nat1ona
                                 coIor, gender, re11g1on,    . l ongm
                                                                    •. ).


                                 (Note: In order to bl ing suit in federal district court under Title VII. you must first obtain a
                                                         JJe
                                                           r
                                 Notice ofRight to      letter from the Equal Employment Opportunity Commission.)

                 □               Age Discrimination             Employment Act of I %7, as codified, 29 U.S.C. §§ 621 ro 634.

                                 (Note: In order to bfing suit in federal district court under the Age Discrimination in

                                                           j
                                 Employment Act, you must first file a charge with the Equal Employment Opportunity
                                 Commission.)


                 □               Americans with Dis bilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to l2ll7.

                                 (Note: In order to bitng suit in federal district court under the Americans with Disabilities
                                 Act, you mustfirst o lain a Notice ofRight to Sue leJter from the Equal Employment
                                 Opportunity Commi sion.)

                 □               Other rederal law ( + th<f_, law):


                 □               Relevant smte law       It-"'· iflnow,o):

                 □               Relevant city or cour ty law (specijj,, if/mown):




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Pro Se 7 Rev. 12/16) Com laint for Em lo ment Discriminati n



III.        Statement of Claim

            Write a short and plain statement oft e claim. Do not make legal arguments. State as briefly as possible the
                                                          1

            facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
            involved and what each defendant didl that caused the plaintiff harm or violated the plaintiffs rights, including
            the dates and places of that involvemdnt or conduct. If more than one claim is asserted, number each claim and
            write a short and plain statement of eabh claim in a separate paragraph. Attach additional pages if needed.
                                                          I                    .                                     .
          A.        The discriminatory conduct of which I complain in this action includes (check all that apply):


                         ·D              Failure to h~ me.
                          [{]            Termination pf my employment.
                          D              Failure to prdmote me.
                          D              Failure to acJommodate my disability.
                          [i]            Unequal te]ls and conditions ofmy emplo~ment.
                          [{]            Retaliation.
                          D              Other acts (specify):
                                        (Note: Only ~hose grounds raised in the charge filed with the Equal Employment
                                        Opportunity <Eommission can be considered by the federal district court under the
                                        federal empldyment discrimination statutes.)


       B.          :,~:       :;:.0~7:;:.~~/t:•~~:::.ri~~::~                       acts occurred on date(s)


       C.           I believe that defendant(s) (check one): .
                          □                             I .. these acts agamst
                                         ·1are st1·11 comm1ttmg
                                         ts                                • me.
                          [i]            is/are not still committing these acts against me.

       D.           Defendant(s) discriminated· ag inst me based on my (check all that apply and explain):
                          IZI            race
                          IZ]            color
                          IZ]            gender/sex
                          □              religion
                          □              national origi
                          □             a~e ~e~r ofbi+) .        .   . .   (only when asserting a claim ofage discrimination.)
                          □             d1sab1hty or plerce1ved d1sab1hty (specify disability)


                         ,                                I
       E.          The facts of my case·are as fol ows. Attach additional pages if needed.




                                                                                                                         Page4of 6
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Pro Se 7 (Rev. 12/16) Complaint for Employment Discriminatiim

             •      My name is Bryce Brown. I a~ more than eighteen (18) years of age and fully competent to te,stify to the
                    facts set forth in this Declaratibn. I have personal knowledge of the facts stated herein and these facts
                    are true and correct. This Dedtaration is given voluntarily. I have not been promised any benefit, coerced,
                    or threatened in any manner ir exchange for this testimony in this Declaration. I am a former prospective
                    employee at G&A OUTSOURCING Ill LLC OBA ONPOINT LAB. In August 2023, I was hired by G&A
                    OUTSOURCING Ill LLC DBAIONPOINT LAB. I have personal knowledge of the matters stated herein,
                    and the facts contained in thiJI Declaration are true and correct.
                    SEE EXHIBIT "A"                                                                                                D


                    (Note: As additional support'for the facts ofyour claim, you may attach to this complaint a copy of
                    your charge filed with the Eqt,al Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human right, division.)

IV.     Exhaustion of Federal Administrative Remedies

        A.                                                1
                    It is my best recollection that filed a charge with the Equal Employment Opportunity Commission or
                                                   I
                    my Equal Employment Oppo unity counselor regarding the defendant's alleged discriminatory conduct
                    on (date}
                    October 4, 2024



        B.          The Equal Employment Oppo                   nity Commission (check one):
                           □              has not issue a Notice of Right to Sue letter.
                           lZI            issued a Notibe of Right to Sue letter, which I received on (date)   10/04/2024
                                         (Note: Attac~ a copy ofthe Notice ofRight to Sue letter from the Equal Employment
                                         Opportunity <Jommission to this complaint.)                                    -

       C.           Only litigants alleging age di,Lmination must answer this question.

                    Sine~ filing my charge of age tscrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's a1Ieded discriminatory conduct (check one):

                           D                               I
                                          60 days or more have elapsed.
                           0              less than 60 d ys have elapsed.

V.     Relief

       State briefly and precisely what damage or other relief the plaintiff asks the court to order. Do not make legal
       arguments. Include any basis for claimii~g that the wrongs alleged are continuing at the present time. Include the
       amounts of any actual damages claimed or the acts alleged and the basis for these amounts. Include any punitive
       or exemplary damages claimed, the amo ts, and the reasons you claim you are entitled to actual or punitive
       money damages.




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.Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

         A. Back pay, lost wages, benefits paid 'irom date of discrimination until trial date; B. Front pay including future
         bonuses, lost earnings & benefits; C. Judgment against Defendant amount equal to Plaintiff's unpaid back wages
         at the applicable overtime rate for each Ihour worked over forty; D. Judgment against Defendant their violations of
         FLSA were willful; E. Equal amount to vltage damages as liquidated damages; F .The extent that liquidated
         damages are not awarded, an award o~ prejudgment interest; G. Damages for mental pain & suffering; H. All
         costs incurr~d & reasonable attorneys' tees for prosecuting claims; I. Punitive damages; J. Injunctive relief;
         K. Leave to add additional Plaintiffs by ration, the filing of written consent forms.or any other method approved by
         the Court entitled. L. All other and furth1r relief to which Plaintiff may show herself justly.


VI.     Certification and Closing

        Under Federal Rule of Civil Procedure 1, by signing below, I certify to the best of my knowledge, information,
        and beliefthatthis complaint: (1) is not eing presented for an improper purpose; such as to harass, cause
        unnecessary delay, or needlessly increasf the cost of litigation; (2) is supported by existing law or by a
        nonfrivolous argument for extending, medifying, or reversing existing law; (3) the factual contentions have
        evidenti~ support or, ~f spe~ific~lly so /_dentitied, will likely have e~identiary ~upport a~er a ~easonable
        opportumty for further mvest1gat10n or discovery; and ( 4) the complamt otherwise complies with the
        requirements of Rule 11.



        A.           For Parties Without an Atto ney

                     I agree to provide the Clerk's I ffice with any changes to my address where case-related papers may be
                     serve4. I understand that my f~ilure to keep a current address on file with the Clerk's Office may"result
                     in the dismissal ofmy case.


                     Date of signing:                 12/20/2024


                     Signature of P l a i n t i ~
                     Printed Name of Plaintiff             -~+-ry_c_e_B_ro_w_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


        B.           For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attomey
                     Bar Number
                     Name;ofLaw Firm
                     Street Address
                     State and Zip Code
                    Telephone Number
                    E-mail Address




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                 EX IBITA
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                        IN THE °1TE~ STATES DISTl!l[CT COURT
                        FOR 'fliE Sf1UT!H[ll~RN IDlfSTIIUCT OF TEXAS

                                      ll:ll01!JS'f0N ]l))JlVJlSKON


BRYCE BROWN                                        §
                                                   §
               ·Plaintiff                          §
                                                   §
v.                                                 §    CIVIL ACTION NO.
                                                   §
G&A OUTSOURCING III LLC                            §
DBA ONPOINT LAB                                             §


---------------------+-\---------------
                              DECLARATION OF BRYCE BROWN



-----D~LARATION OF BRYJBROWN PURSUANT TO 28 U.S.C. § 1746 UNDER
THE PENALTY OF PERJURY

        My name is Bryce Brown. I run more than eighteen (18) years of age and fully competent

to testify to the facts set forth in this Jeclaration. I have personal lmowledge of tl1e facts stated

herein and these facts are true and colt. This Declaration is given voluntarily. I have not been



Declaration.

        1.
                                        l
promised any benefit, coerced, or tJtened in any manner in exchange for this testimony in this



                I am a former j>rospei e employee at G&A OUTSOURCING III ILC DBA

ONPOINT LAB. In August 2023, I was hired by G&A OUTSOURCING III LLC DBA

ONPOINT LAB.. I have personal knmJ.iedge of the matters stated herein, and the facts contained

in this Declaration are true and correct\

        2.      During my employmenl with G&A OUTSOURCING III LLC DBA ONPOINT

LAB, I was not treated as former reps !rior to me had been treated. I was subjected to using old
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or out of date marking 'materials. With the inadequate address to OnPoint Lab. Please sec Exhibit

A (A-1) I had no business cards nothi g up to date to make me successful in my job duties. I had

                .                        I                              .
reached out several times to Mr. Chanlresh Patel and his assistant Yorleni Moran about the

marketing mate1'ials. She could not or,er anything without his approval. I also re~chcd o_trt to Mr.

Chandresh Patel and our Human Resource Development Carla Acosta about the issue oJ not

having the proper materials via text mLsage. Attached to my declaration as Exhibit B (B-1 to B-

4) text message threats between myselk Bryce Brown and Mr. Patel's assistant Yorleni Moran

and Carla Acosta head of Human Resolces and Chandresh Patel.

        3.      On September 25, 2023, I sat down to lunch with Chandresh Patel at Mia's Table

at 18450 1-45 S, Shenandoah, Tx. We hadjust come from a meeting with Dr. Bishai in the

Woodlands Conroe area. Mr. Patel informed me that he did not care for sandwiches which I have

 purchased at Scblotzsky's Deli. Chan \esh Patel informed me while eating at Mia's Table, his

 girlfriend owned a Quiznos Deli out in the Sugarland area. Mr. Patel went on to say that he and

 his girlfriend would be having dinner       at evening and asked ifI and my husband would like join

 for dinner.



                                          r
         4.      Following that stateme ,t, I began to wrap up my ltmch and informed Mr. Patel I

 had a few more offices to see, and I'd        him at worl, the following day. I inquired about new

 marketing material business cards, na e, tag, etc. so that while going into the offices, they would

 know what we had to offer and none o-. the things that I had requested and were promised to me

 in the interview were at my fingertips.

         5..     Oh December 15, 2023, noticed been moved from salary to hourly I approached

 Mr. Patel and asked why I had not been informed via email, via text message, via letter and Mr.

 Patel informed me ifI (Bryce Brown) d' d not like being considered hourly that I could go
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elsewhere. Being in meetings with Mr. Patel was quite challenging. He is not one to hear other's

opinion even if it could help the combany. In the last meeting with Mr. Patel, I managed to



                                         t
                                  . 111e a1ways was m
record a snit bit of how rude and irate             • a meet'mg.                       '


       6.      Throughout my time        GNA outsourcing the third LLC and OnpointLab worlcing

for Mr. Patel I was subjected to racia\ discrimination by not supplying me with the adequate tools

as he did for the reps that are not African-American descent that came prior before me, I was

treated differently because he felt as   r
                                         I had a husband. I was treated differently and forced to

choose my job or choose unemploTt if! did not like being moved from salary to hourly.



        7.      On December 22, 2023 without warning of any corrective actions being taken.

Mr. Chaudresh Patel ended Mr. Bro1'• employment. Mr. Brown filed for unemployment, and it
was awarded. Mr. Patel decided to challenge the outcome. and appeal tl1e state of Texas decision.

The State of Texas gave a list of queJions for Mr. Patel to answer see Exhibit C (C-1) In a

statement that Mr. Patel gave to the Tlxas Unemployment appeal committee see Exhibit C (C-2)

was that he was unhappy and unsatisded with Mr. Brown's performance.

        Mr. Brown replied to all the cllims Mr. Patel had brought forth see Exhibit C (C-3) Mr.

 Patel never gave Mr. Bro"'.' a written raming, a verbal warning, and when Mr. Brown asked,

 "Mr. Patel was there anything that he- :needed to do more?" Mr. Patel stated to Mr. Brown, "You

 are doing great'', so at the time of the ~eparation right before the employee Christmas party Mr.

 Brown was blindsided and embarrasser as Mr. Patel belittled and berated Mr. Brown as Mr.

 Brown was leaving the office. Mr. Chandresh Patel decided to drop Iris suit the day of the

 appealing hearing after Mr. Brown's p \oof of documents of not having adequate marketing

 materials in text messages.
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I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED on this 20th day ofDece ber, 2024.




                                                   2)a;ceBrown
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       U.S. EQUAL EMPLO MENT OPPOJRTUNll:TY COMMISSION
                                                                                          Houston District Office
                                                                                       1919 Smith Street, 6th Floor
                                                                                              Houston, TX 77002
                                                                                                   (346) 327-7700
                                                                                          Website: www.eeoc.gov


                  DETERMINArfION AND NOTICE OF RJrGHTS
                                     1
                   (This Notice repl ces EEOC FORMS 161, 161-A & 161-B)

                                         Issued On: 10/04/2024
To: Mr. Bryce Brown
    935 N. Wilcrest Dr 1018 Apt 1118
    HOUSTON, TX 77079

Charge No: 460-2024-04187
EEOC Representative and email:       @ERARD
                                      I
                                                LADERA
                                     JEO Investigator
                                     ~erard.ladera@eeoc.gov


                               DETE~ATION OJF CHARGE

The EEOC issues the following dJtennination: The EEOC will not proceed further with its
investigation and makes no ·determination about whether further investigation would establish
violations of the statute. This does nd[ mean the claims have no merit. This de.termination does not
certify that the respondent is in comrliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.
                                         I
                             NOTIC\ OF YOUR R!IGEIT TO SUE

This is official notice from the EEO<C of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against t~e respop.dent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITIDN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if ypu do not file a lawsu~t in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may\ be different.)                                _
If you file a lawsuit based on this charge, please sign in to the EEOC Public Portal and upload the
court complaint to charge 460-2024-d4187.

                                                On behalf of the Commission,

                                                Digitally Signed By:Rayford 0. Irvin
                                                10/04/2024
                                                Rayford 0. Irvin
                                                District Director
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Cc:
Chandresh Patel
G&A OUTSOURCING III LLC DB ONPOINT LAB
145 Promenade Way Ste. 2
SUGARLAND, TX77479



Please retain this notice for your recorcls.
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EEOC Form 5 (07/24)

                       :             CHARf.E OF DISCRIMINATION
                    •                This forIIf is affected by the Privacy Act of 1974.
                   See attached Privacy Act Stlement and other information before completing this form.
                   CHARGE PRESENTED To:                                              AGENCY CHARGE No.
                            EEOC                                                         460-2024-04187
       Texas Workforce Commission Civil Rights ivision


Name (indicate Mr., Ms., Mrs., Miss, Mx., Dr., ':Ion., Rev.): Mr. Bryce Brown
Home Phone:     (281) 763-8151
Year of Birth:  1986
Street Address: 935 N. Wilcrest Dr Apt 1018
HOUSTON, TX 77079

Named below is the Employer, Labor Organi~ation, Employment Agency, Apprenticeship Committee, or State or Local
Government Agency that I believe discriminated against me or others.
Name: G&A Outsou~cing III LLC dba OnPoint ...,ab
No. Employees, Members: 15 - 100 Employees
Phone No.:
Street Address: 145 Promenade Way Ste. 2

SUGAR LAND, TX 77479

Name:
No. Employees, Members:
Phone No.:
Street Address:

DISCRIMINATION BASED ON:
Color, Retaliation, Sex

DATE(S) DISCRIMINATION TOOK PLACE
Earliest: 09/17/2023
Latest: 12/18/2023

THE PARTICULARS ARE:
On December 18, 2023, I was discharged from my position as a Marketing Representative by the owner, Chandresh Patel,
allegedly for poor performance, which I believe to be pretext to discrimination and retaliation.

I applied on Indeed for the position which offe,4 $80k - $85k. However, when Mrc Patel hired me on September 17, 2023, he
would only offer $55k; I was the only African ~erican male that worked at this location in Sugar Land, Texas. I have evidence
that shows that throughout my employment, I hatl been requesting Mr. Patel for updated marketing materials, a business card
with my name on it, and a name tag, to properly ftilfill my role within the company. Patel refused to provide any of the requested
items. During a business lunch, Patel questioned my sexuality by asking if I and my husband would be joining him and his
fianc along with some ,of their friends for dinner that evening. I feel that I was mistreated because of the color of my skin, my
                                                  1
sexual orientation, and for constantly bringing. tf: Patel's attention that I needed updated marketing materials. At a meeting
shortly before our office Christmas party began, I asked Mr. Patel why my status had changed from salary to hourly. He replied
that if I didn't like it, I was free to go. Mr. Patel became enraged and made verbally abusive comments and used statements
like, "your kind" never gets the job done, which I have recorded. He then told me to grab my briefcase, leave the company
laptop, and to immediately leave the premises. !\J.l this transpired within earshot of coworkers gathered around Mr. Patel's
office for the Christmas party.



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EEOC Form 5 (07/24)
I believe that I was retaliated against for engaging in protected activity and discriminated against based on my skin color, race
(Black), and sex (male), in violation of Title VII 1f the Civil Rights Act of 1964, as amended.

I want this charge filed with both the EEOC andfhe State or local Agency, if any. I will advise the agencies if I change my
address or phone number and I will cooperate ully with them in the processing of my charge in accordance with their
procedures.
I declare under penalty of perjury that the above ii true and correct.

Digitally Signed By: Mr. Bryce Brown
10/03/2024
Charging Party Signature & Date

NOTARY - When necessary for State and Local Agency Requirements

                                                   I
                                                   1
I swear or affirm that I have read the above chargE and that it is true to the best of my knowledge, ,information, and belief.

Signature of Complainant
Subscribed and sworn to before me this date: - - + - - - - - - - - - -




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                       IN THE U       TED STATES DISTRICT COURT
                       FOR THE S UTHERN DIS'JfRJfCT OF TEXAS
                                      kousToN D.ll.VJlSKON


BRYCE BROWN                                       §
                                                  §
               Plaintiff                          §
                                                  §
v.                                                §    CIVILACTIONNO.
                                                  §
G&A OUTSOURCING III LLC                           §
DBA ONPOINT LAB                                           §


------------·----·-----+------------------------------------·---------
                              DECLARATION OF BRYCE BROWN

------------·----------------------·---------
     DECLARATION OF BRYCE BROWN PURSUANT TO 28 U.S.C. § 1746 UNDER
THE PENALTY OF PERJURY

        My name is Bryce Brown. I ar more than eighteen ( 18) years of age and fully competent

to testify to the facts set forth in this Declaration. I have personal knowledge of the facts stated

herein and these fuels are true and cotect TI1is Declaration is given voluntarily. I have not been

promised any benefit, coerced, or threatened in any manner in exchange for this testimony in this

Declaration.

         1.     I am a formerprospecttve employee at G&A OUTSOURCING III LLC DBA

ONPOINT LAB. In August 2023, I wL hired by G&A OUTSOURCING III LLC DBA
            .                  • I                                  .                .
~NP.OINT LA~. I have personal knowlledge of the matters stated herein, and the facts contained

111 tins Declaration are true and correct.


        2.      During my employmenl with G&A OUTSOURCING III LLC DBAONPOINT

LAB, I was not treated as former reps rior to me had been treated. I was subjected to using old
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or out of date marking materials. Wi, the inadequate address to OnPoint Lab. Please see Exhibit

A(A-1) I had no business cards nothlg up to date to m.ake me successful. m my Job dultes. l had

reached out several times to Mr. Cha!resh Patel and lus assistant Yorlem Moran about the

marketing materials. She could not or er anything without his approval. I also reached out to Mr.

Chandresh Patel and our Human R.esdurce Development Carla Acosta about the issue of not

having the proper materials via text ntssagc. Attached to my declaration   ~   Exhibit B.(B-I to B-

4) text message threats between myself, Bryce Brown and Mr. Patel's assistant Yorlcm Moran

and Carla Acosta head of Human Reslurccs and Chandresh Patel.

        3.     On September 25, 2021 I sat down to lunch with Chandresh Patel at Mia's Table

at 18450 1-45 S, Shenandoah, Tx.    wJ had just come from a meeting with Dr. Bishai in the
Woodlands Conroe area. Mr. Patel infLmed me that he did not care for sandwiches which I have

purchased at Schlotzsky's Deli. Chanlesh Patel informed me while eating at Mia's Table, his

girlfriend owned a Quiznos Deli out iiJ the Sugarland area. Mr. Patel went on to say that he and

his girlfriend would be having dinner lat evening and asked if I and my husband would like join

for dinner.

        4.      Following that statemer, I ~egan to wrap up my '.unch and '.nfo~med Mr. Patel I

had a few more offices to see, and I'd see him at work the followmg day. I mqmred about new

marketing material business cards, nJe, tag, etc. so that while going into the offices, they would

know what we had to oiler and none Jtlie things that I had requested and were promised to me

 in the interview were at my fingertips.

        5.      On December 15, 2023, I noticed been moved from salary to hourly I approached

 Mr. Patel and asked why I had not bee informed via email, via text message, via letter m1d Mr.

 Patel informed me if I (Bryce Brown) did not like being considered hourly that I could go •
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elsewhere. Being in meetings with        r. Patel was quite challenging. He is not one to hear other's

opinion even if it could help the com~y. In the last meeting witl1 Mr. Patel, I managed to

record a snit bit of how rude and iratl he always was in a meeting.

       6.      Throughout my time
                           .
                                         tI   GNA outsourcing the third LLC and OnpointLab working
                                                                                                 •
for Mr. Patel I was subjected to racial discrimination by not supplying me with the adequate tools

as he did for the reps that are not AfrLan-American descent that came prior before me, I was

treated differently because he felt as   ir I had a husband. I was treated differently and forced to
choose my job or choose unemploJent ifl did not like being moved from salary to hourly.



        7.      On December 22, 20213 without warning of any corrective actions being taken.

Mr. Chandresh Patel ended Mr. Bro+•• employment Mr. Brown filed for unemployment, and it

was awarded. Mr. Patel decided to challenge the outcome. and appeal the state of Texas decision.

The State of Texas gave a list of queJions for Mr. Patel to answer see Exhibit C (C-1) In a

statement that Mr. Patel gave to the     )i Unemployment appeal committee see Exhibit C (C-2)
was that he was unhappy and unsatis:filed with Mr. Brown's performance.

        Mr. Brown replied to all the ciaims Mr. Patel had brought forth see Exhibit C (C-3) Mr.

Patel never gave Mr. Brown a wri~lwaming, a verbal warning, and when Mr. Brown asked,

"Mr. Patel was there anything that he leeded to do more?" Mr. Patel stated to Mr. Brown, "You

 are doing great", so at the time of the leparation right before the employee Christmas party Mr.

Brown was blindsided and embarrassld as Mr. Patel belittled and berated Mr. Brown as Mr.

 Brown was leaving the office. Mr. Chhndresh Patel decided to drop his suit the day of the

 appealing hearing after Mr. Brown's droof of documents of not having adequate marketing

 materials in text messages.
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I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED on this 20th day of December, 2024.
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                 EX IBIT A
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  The Parkinsorn's, Alzheimer's and demen11:i01 panel screens genes associated with hereditary
 Parrki111so111's, Alzheimer's and demerntna : A~OE, APP, A TP13/.\2, A TP]A3, C9on-f72, CSFI~, DClN't DNWffi,
 E!F4G], FBX07, GBA, GCHI, GRN, HTRA2, lRR!p, MAPT, NOTCH3, PARK7, PINK], PtA2G6, POtG, PRKN,
 PRKRA, PIRNP, PSEN], PSIE~12, SL.C6A3, SNCA, SNCB, TAfl, TH, TIRIEM2, TVROBP, UCHU, VPS35 (35 genes)
 The PAD panel is done through a buccal stab and results can ~e expected within 3-4 weeks.
 ®      1PoJ1rid111son's is the second most common neumdegenemtive
        diseas: after Aizh~imer's disease and !has a preval~nce ~'f- .
        appmximately 1% m people over the a1ge of 60. Parirn1son s disease
        typically consists of motor features sueh as trernor and musde
        rilgidity but cam also irndude cogniltive redine and dementia. Many
        cases of Parkinson's are prrobab!y cm.11fed by muitipie factors, both
        genetic and environmental, however, 5-·10% of patients have a
        monogenic form caused by mutationt in a specific gene .              •

  ij,    Alzheimer's is the most common type\ of dementia. Alzheimer's
        typically begins with subtle failure of nremory that pmgresses over
        tilme 1UJnW it becomes incapacitating. ~he disease is chamcte1rized
        by amyioid pllaques and roemofibrmary tangles. Appmximateiy 25%
                               ,                 I
        of all Alzheimer's is fammai which can be distinguished from 1111on-
        fammai Alzheimer's by family- history 9nd molecular ge1111eUc                                                                                                                                 .
        testing. Three genes have been !inked Ito early onset J\!zheimer's
        dirsease accol!lnUng for a majorrity of cases: APP, PSENl, PSEN2

 •       Dementia consists ol cognitive and b~havioral symptoms that interfere with usual activities
        a111d represent a decline from previous h.11nction. Many forms o·u- dementia are thought to lbe
        muiti-'factorilai and are genetically cof plex diseases; however, some lhave been showrn to be
        due to distinct genetic causes . A dirnicpi evaluation may riot be s1U1Hicient to distinguish
        specific type of dementia, therefore a Jenetic test can be vah.1able in establishing ciinilcai  •
        diagnosis.             ,

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                       EXHIBIT B
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                                                                 EXHIBIT B-1




                                                                               1/1
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                                                                • EXHIBIT B-2




                                                                                1/1
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                                                              EXHIBIT B-3




                                                                              1/1
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                                                                EXHIBIT B-4




                                                                              1/1
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                 EXHIBIT C
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                                                                                                          EXHIBIT C-1



                                      flHRlogics

  Fax To:
   512-322-2875


   Employer: G&A Outsourcing, LLC
   Employer Account Number: 13-0945~5-8
   Claimant's Name: BRYCESON BROWN
   Claimant's SSN: XXX-XX-3006


   To Whom It May Concern,

Was the claimant ever given written ll')IOtice o1F wrritten ins11:1ructffcns advusull'Dg Mm 1tl0> rnpo0"1l: lbnclk 1t10> tlhle IP!EO
for further assignment? 111' 1110, was toe even g\ivern ooy other types \Of u1111strnciB01TDs ireg~irdmgi irte!P>ll'.lllf'1tfilf'llg
back? NO
Wais the employer ever satisfaed with 1!:he clillima011t's performaft11c;e? B1f so, i:llD"e tlhey awarre of riul1!y moil:
cause that was leading to a decline 11111 the claimant's perforrm~nee? I was never satisfied with Bryce's
performance. I gave him time to learn our tdsts and services but he failed to follow through on marl<eting
the company and try to grow the business. \
Did the claima111111: actualny receive any verba!1or written wamill'Dgs rt21gisirdlong performr1m1ce n:ll1t allly 1tume? Uf
                                                      !t·
so, if there is documentation please attach Bryce was counseled at every meeting to provide proper
activity reports, sign in sheets, and other do<!:umentation other than a mileage log with just an address
without clinic or doctor name.                   \
The final incident was on 12/18/2023 a111dl o'Gi was !because ~1e was 01101t albie to provude piropE9ir
documentation of his time and lnterac1tion. ~ere there arny pll'evious Willll'fl1linigs rng«11rrtdlno11g !P)trowo<dloll1l@
proper documentation? If so, please provid~ dlate ancll clle1tails all'lldl/orr please attach copies oUlhJ(E)
warnings. This was requested of him at ever~ meting. He said he would work on It bUl never provided
adequate documentation. I felt like he had a1other job or personal business on the side. Carla Acosta and
Vorleni Moran sat in all the meetings and can attest to the constant requests.




   Sincerely,

   ~ ~~
   Unemployment Claims Analyst
   Direct Phone: 615-924-8604
   Email: chance.sullins@hrlogics.com
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                                                                                       Page 29 of 30 C-2




Onpoint Lab endeavors to maintain a positive work environment Each employee plays a role on,

                                            I
fostering this environment. Accordingly,\ we_ all must abide by certain mies of conduct, ·based on
honesl.y' common sense and fair play.
Because everyone may not hav~ the s~me Idea about proper worl<place conduct., ut is helpful to
adopt and ~nforce rules all can follow. U~acceptable conduct may subject the offender to disciplinary
action, up to and including discharge, in fhe Company's sole discretion. The ·foil~wn11g are examples
of some, but not all, conduct which can be considered unacceptable:

   1. Obtaining employment on the basil of false or misleading information.
   2. Stealing, removing or defacing Onpoint Lab property, client orr a co-worker's property, aunid/or
      disclosure of confidential informati<hn.
   3. Completing another employee's ~i~e records.
   4. Violation of safety rules and policies.
   5. Violation of Onpoint Lab's Drug an~ Alcohol-Free V\fon-l<place Policy.
   6. Fighting. threatening or disrupting the work of others or· other vioklltions o-f Onpoint IL.alb's
        Workplace Viol'ence Policy.
     7. Raising voice, non-professionalism or altercation at Company or client worl< site.
     8. Multiple complaints from client regarding performance or behavior.
  vJ.   Failure to follow lawful instructions bf a supervisor.
                                                1

  VI· Failure to perform assigned job dut1es.
  11. Violation of the Punctuality and Att~ndance Policy, including but not limited to irregular
        attendance, habitual lateness or uni,ccused absences.
  12. Gambling on Company property.                          •
  ·13. Willful or careless destruction or damjage to- Company assets or· to the equipment or
        possessions of another ~mployae.
  14. Wasting work materials.                                                 •
  '! 5. Falsification o'f Company records.
  16. Performing work of a personal natu.~ during working time.
  17. Violation of the Solicitation and Distriibution Policy.
  18. Violation of Onpoint Lab•s Harassmejnt or Equal Employment Oppo1rtunity Policues.
  19. Violation of the Communication and Computer Systems Policy.
 ~- Unsatisfactory job performance.                                     .
 21. Any other violation of Company poli y.

Obviously, not every type of misconduct cal be listed, Since the nature of our business requires our
staff presence at clients' job site, it is impo~tant that employees -follow the Sli.:ime code of coind11.11ct at
clients' work site as Onpoint lab. Repetitive complaint"3 by the client(s) shall be «nvestugated arnd If
needed, corrective measures maybe taken \up to and including ·termination. Note that aii employees
are employed at-will, and Onpoint lab rese'i"es the right to impose whatever discipline it chooses, ou-
none at all, in a particular instance. The Co pany will deal with each situation !ndivuch..1aily and
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                                                                            EXHIBITC-3


MR. BROWN RESPONSE

Mr. Patel was asked a series of questions:

His response to the first questiJ was No.

Mr. Patel responded to the secoL question with he was .never satisfied with Mr.
Brown's performance..

Exhibit A-D)

Mr. Patel response to the third q estion was: Mr. Brown was counseled at every
~eeting.    .                     \                                                     .
Response: (Mr. Patel wanted sig~ in sheets and other documents. But, without proper
materials exhibit (A, B, C, 0,) how was Mr. Brown supposed to get the office to sign a
                                   1
sheet, when .he had no marking mt aterial or outdated material. If you will go ba~k and
look at exhibitE3 to E8 you wills e Mr. Brown gave names of whom he spoke with and
locations.)

Mr. Patel responded to question four about the termination with Mr. Brown never
provided information.            \
Response: (For reference exhibit E3 to E8 is just some of the documents Mr. Brown
provide.)    .                   \

Also, Mr. Patel says in his respon1e to question four he felt Mr. Brown had another
business adventure taking place ~t same time as his.employment time with On Point
Lab.                               \
Response: (How can that be when Mr. Brown was at the office on days when not in the
field.)

Mr. Patel makes mention that Mrs. Acosta & Mrs. Moran can attest to setting in
meetings andthe conversation th twhere had.
Response:(but never once was a J,rite up given to Mr. Brown due to his alleged poor
mis conductor anything presentedrfor him to sign stating what was said or discussed in
these meetings or recorded for trai~ing purposes.)
